                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    (CHATTANOOGA)

 LEWIS STEIN, Individually and on Behalf of All
 Others Similarly Situated,
                                                           Civil Action No.
                                  Plaintiff,

  v.                                                       CLASS ACTION

  U.S. XPRESS ENTERPRISES, INC., ERIC                      COMPLAINT FOR VIOLATIONS OF THE
  FULLER, ERIC PETERSON, JASON GREAR,                      FEDERAL SECURITIES LAWS
  MAX FULLER, and LISA QUINN PATE,

                                  Defendants.
                                                           DEMAND FOR JURY TRIAL


                                         INTRODUCTION

         Plaintiff Lewis Stein (“Plaintiff”), by and through his undersigned attorneys, individually

and on behalf of all other persons similarly situated, alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters based on the investigation conducted by and through Plaintiff’s attorneys, which

included, among other things, a review of the U.S. Securities and Exchange Commission

(“SEC”) filings by U.S. Xpress Enterprises, Inc. (“U.S. Xpress” or the “Company”), media and

analyst reports about the Company, as well as information readily obtainable on the internet.

Plaintiff believes that substantial evidentiary support will exist for the allegations set forth herein

after a reasonable opportunity for discovery.

                                   NATURE OF THE ACTION

         1.     Plaintiff brings this action under §§ 11 and 15 of the Securities Act of 1933 (the

“Securities Act”), on behalf of all persons and entities, other than Defendants (defined herein),

who purchased or otherwise acquired the publicly traded common stock of U.S. Xpress pursuant


{00318188;2 }                                     1
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and/or traceable to the Company’s initial public offering completed in June 2018 (the “IPO”)

seeking to recover compensable damages caused by Defendants’ violations of the Securities Act.

         2.     This action asserts strict liability claims under §§ 11 and 15 of the Securities Act

against U.S. Xpress and certain current and/or former U.S. Xpress officers and directors. These

claims specifically exclude any allegations of fraud, knowledge, recklessness or scienter, do not

“sound in fraud” and are based solely on strict liability and negligence.

         3.     The claims in this action arise from the materially misleading Registration

Statement and Prospectus (collectively the “Offering Documents”), defined infra, issued in

connection with the IPO. In the IPO, Defendants offered and sold 16,668,000 shares of U.S.

Xpress common stock to the public at a price of $16.00 per share. The Company received net

proceeds from the IPO of approximately $245.2 million after deducting underwriting discounts

and commissions and offering expenses.

         4.     To the detriment of Plaintiff and all those that bought shares in or traceable to the

IPO, the negligently prepared Offering Documents omitted material information regarding the

Company’s business prospects and financial health. As such, the Offering Documents contained

untrue statements of material facts or omitted to state the facts necessary to make the statements

made therein not misleading, thus violating the rules and regulations governing its preparation.

Specifically, the Offering Documents failed to disclose:

                a)     that a shortage of trucks was negatively impacting U.S. Xpress’s dedicated

                       division;

                b)     that: (i) certain account shipping patterns had been performing differently

                       than expected; and that, as a result (ii) utilization and driver retention and

                       hiring were being negatively affected; and that, as a result (iii) U.S.



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                       Xpress’s dedicated accounts, including one large account, were being

                       negatively impacted; and that, as a result (iv) U.S. Xpress’s over-the-road

                       (sometimes referred to as “OTR”) division was providing continued

                       support to the dedicated division;

                c)     that: (i) U.S. Xpress failed to stay informed regarding two large liability

                       events; and that, as a result (ii) U.S. Xpress’s insurance claim expense was

                       understated; and

                d)     that U.S. Xpress’s cost per mile for driver wages and independent

                       contractors was exceeding the Company’s internal expectations.

         5.     As a result of the foregoing, the statements contained in the Offering Documents

were materially false and/or misleading and failed to state information required to be stated

therein.

         6.     On November 1, 2018, U.S. Xpress issued a press release, also attached as exhibit

99.1 to the Form 8-K filed with the SEC, announcing the Company’s financial and operating

results for the third fiscal quarter and nine months ending September 30, 2018. Therein, as well

as during a conference call to discuss the results, U.S. Xpress disclosed how unusual shipping

patterns were impacting its segments and how market challenges for drivers resulted in a year-to-

year tractor count decrease. The Company and its executives also disclosed higher driver wages

and independent contractor costs, lower than expected recruitment levels, and a higher insurance

expense.

         7.     On this news, the price of U.S. Xpress’s common stock declined from a close of

$10.14 per share on November 1, 2018 to a close of $7.10 per share on November 2, 2018, a

drop of approximately 29.98%.



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         8.     At the date of the filing of this action, less than a year after the IPO, U.S. Xpress’s

common stock trades at approximately $6.60 per share, a decline of roughly $9.40 per share, or

nearly 59%, from the $16.00 IPO public price.

                                 JURISDICTION AND VENUE

         9.     The claims asserted herein arise under §§ 11 and 15 of the Securities Act, 15

U.S.C. §§ 77k and 77o. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

and § 22 of the Securities Act, 15 U.S.C. §77v. In connection with the acts, conduct and other

wrongs alleged herein, Defendants, directly or indirectly, used the means and instrumentalities of

interstate commerce, including the U.S. mails, and interstate telephone communications.

         10.    Venue is proper in this court pursuant to § 22 of the Securities Act, 15 U.S.C. §

77v. The Company maintains its principal executive offices in this District. The dissemination

of the materially false and misleading statements occurred in this District.

                                             PARTIES

         11.    Plaintiff purchased U.S. Xpress common stock pursuant and/or traceable to the

Company’s Offering Documents for the IPO and was damaged thereby.

         12.    Defendant U.S. Xpress is a publicly traded company incorporated in Nevada with

its principal executive offices located at 4080 Jenkins Road, Chattanooga, Tennessee 37421.

Following the U.S. Xpress IPO, the Company’s common stock began trading on the New York

Stock Exchange (“NYSE”) under the ticker symbol “USX.”

         13.    Defendant Eric Fuller was the President, Chief Executive Officer (“CEO”) and a

director of U.S. Xpress at all relevant times. Defendant Eric Fuller signed or authorized the

signing of the Registration Statement filed with the SEC.




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         14.    Defendant Eric Peterson (“Peterson”) was U.S. Xpress’s Chief Financial Officer

(“CFO”), Treasurer and Secretary at all relevant times. Defendant Peterson signed or authorized

the signing of the Registration Statement filed with the SEC.

         15.    Defendant Jason Grear (“Grear”) was a Director of U.S. Xpress at all relevant

times. Defendant Grear signed or authorized the signing of the Registration Statement filed with

the SEC.

         16.    Defendant Max Fuller was a Director of U.S. Xpress at all relevant times.

Defendant Fuller signed or authorized the signing of the Registration Statement filed with the

SEC.

         17.    Defendant Lisa Quinn Pate (“Pate”) was a Director of U.S. Xpress at all relevant

times. Defendant Pate signed or authorized the signing of the Registration Statement filed with

the SEC.

         18.    Defendants Eric Fuller, Peterson, Grear, Max Fuller, and Pate are sometimes

collectively referred to herein as the “Individual Defendants” and together with U.S. Xpress as

the “Defendants.”

         19.    The Individual Defendants are strictly liable for the materially untrue and

misleading statements contained in the Offering Documents. By virtue of their positions with

the Company, the Individual Defendants possessed the power and authority to control the

contents of U.S. Xpress’s Offering Documents, reports to the SEC, press releases, and

presentations to securities analysts, money and portfolio managers, and market investors.

         20.    The Offering Documents, including documents incorporated by reference,

contained materially untrue and misleading statements and/or omissions. Defendants negligently

allowed the Offering Documents to contain materially untrue and misleading statements and/or



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omissions to the extent that they knew or should have known that the Offering Documents were

materially misleading, but failed to act in a reasonable manner to prevent the Offering

Documents from being disseminated.

         21.    Plaintiff’s claims brought under §§ 11 and 15 of the Securities Act, 15 U.S.C. §§

77k and 77o are based solely on claims of strict liability and/or the absence of any affirmative

defense based on the reasonableness of the pertinent Defendants’ investigation into the true facts.

These claims are not based on any allegation of fraud, intentional wrongdoing, or severe

recklessness.

                                SUBSTANTIVE ALLEGATIONS

                                            Background

         22.    U.S. Xpress describes itself as the fifth largest asset-based truckload carrier in the

U.S. by revenue. The Company provides services using both its own truckload fleet and third-

party carriers. U.S. Xpress’s fleet consists of more than 6,800 tractors and approximately 16,000

trailers.

         23.    U.S. Xpress divides its services into two reportable segments: the truckload

segment and the brokerage segment. The truckload segment consists of asset-based truckload

services which include OTR and dedicated contracts that as of March 31, 2018, represented 87%

of U.S. Xpress’s revenues. The brokerage segment consists of non-asset-based freight brokerage

services and as of the same date, represented 12% of the Company’s revenues.

         24.    U.S. Xpress describes the over-the-road contracts as the transport of a trailer of

freight for a single customer, pursuant to a short-term contract, operated by one or two drivers

for a route between 450 and 1,050 miles in length. The dedicated contracts are contractually

assigned drivers and equipment in multi-year contracts designed for customers’ needs.



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         25.      On May 7, 2018, U.S. Xpress filed a registration statement on Form S-1 with the

SEC. The registration statement was subsequently amended, with the final amended registration

statement on Form S-1/A filed on June 11, 2018 (collectively, the “Registration Statement”).

The Registration Statement was declared effected by the SEC on June 13, 2018. U.S. Xpress

filed its final prospectus with the SEC on June 15, 2018 (the “Prospectus”).

         26.      In June 2018, U.S. Xpress completed its IPO.      Defendants offered and sold

16,668,000 shares of U.S. Xpress common stock at a price to the public of $16.00 per share. The

Company received net proceeds of approximately $245.2 million after deducting underwriting

discounts, commissions, and offering expenses.

           The Company Goes Public by Means of the Materially Misleading Offering
                                       Documents1

         27.      The Registration Statement, which was signed by each of the Individual

Defendants, emphasizes the Company’s “improved performance” due to “asset optimization”:

               Asset Optimization.

                   In 2015, we began to redesign our fleet renewal and maintenance
         programs with the goal of improving reliability, reducing downtime for all
         tractors and reducing maintenance costs on the older tractors in our fleet. These
         initiatives, among others, were intended to improve the quality of our assets by
         purchasing, maintaining and trading our tractors in a manner designed to optimize
         life cycle costs.
                   In addition, in early 2016 we began enhancing our asset utilization by
         analyzing our consolidated Truckload and Brokerage freight demand using
         optimization software, allocating the most profitable freight to our Truckload
         assets and outsourcing the remainder to third-party carriers. With more loads to
         choose from, we have more options for improving the pricing and miles on our
         company tractor and trailer assets.

         28.      Throughout the Registration Statement, Defendants also describe U.S. Xpress’s

growth strategy to “capitalize on current favorable truckload environment,” stating in relevant

part:
1
    Emphasis added throughout unless stated otherwise.

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         Grow profitably as appropriate to the market cycle

               Continue to leverage our service mix to manage through all market cycles

                          Grow our revenue base prudently with a focus on dedicated
                  contract service and brokerage by cross-selling our services with existing
                  customers and pursuing new customer opportunities

                          Maximize profitability for new freight across OTR and
                  brokerage operations by selectively allocating freight to company assets

                           Seek favorable dedicated service contracts and brokerage
                  freight to manage

               Capitalize on current favorable truckload environment

                             Continue to secure rate increases in all of our service
                  offerings

                          Strategically expand our fleet based on expected profitability
                  and driver availability, including through our company-sponsored
                  independent contractor lease program (which has grown from zero
                  drivers in the second quarter of 2017 to approximately 485 drivers at
                  March 31, 2018)

                          Leverage current market conditions to accelerate timeline
                  for enhancement of network

Emphasis added.

         29.      The Registration Statement identifies U.S. Xpress’s “competitive strengths” and

emphasizes a “complementary mix of services to afford flexibility and stability.” In relevant

part:

         Complementary mix of services to afford flexibility and stability throughout
         economic cycles

                 Our service offerings have unique characteristics and are subject to
         differing market forces, which we believe allows us to respond effectively
         through economic cycles.

         OTR




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                 OTR business involves short-term customer contracts without pricing or
         volume guarantees that allow us to benefit from periods of supply and demand
         imbalance and price volatility. This is the largest part of our business and the
         overall truckload market, which is currently benefiting from strength in pricing
         and volumes described under “—Truckload Market.”

         Dedicated

                 Dedicated business features committed rates, lanes and volumes under
         contracts that generally afford us greater revenue predictability over the contract
         period and help smooth the impact of market cycles. Additionally, our dedicated
         contract service offering generally has higher driver retention rates than our OTR
         service offering, which we believe is because our professional drivers prefer the
         more predictable time at home that dedicated routes offer. In addition, this
         increased visibility allows us to commit and invest fleet resources with a more
         predictable return profile.

         30.    The Registration Statement further describes how the Company seeks to

“maintain flexibility through long-term enterprise planning” by “prioritizing growth in

dedicated contract services.” In pertinent part:

         Maintain flexibility through long-term enterprise planning and conservative
         financial policies

                        Maximize our free cash flow generation by managing
                expenses, taxes and capital expenditures

                        Prioritize growth in dedicated contract services, which offers
                more predictable revenue streams and greater asset productivity

                        Prioritize growth in brokerage, which requires limited capital
                investment and affords network-balancing freight volumes

                        Monitor capital allocation to improve long-term return on
                invested capital

                           Maintain a conservative leverage profile after this offering.

         31.    In the risks section, the Registration Statement describes certain risks related to

high deductibles on claims exposure that “may” occur, stating in relevant part:




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          We retain high deductibles on a significant portion of our claims exposure,
          which could significantly increase the volatility of, and decrease the amount of,
          our earnings and materially adversely affect our results of operations.

                  We retain high deductibles on a significant portion of our claims exposure
          and related expenses associated with third-party bodily injury and property
          damage, employee medical expenses, workers’ compensation, physical damage to
          our equipment and cargo loss. We retain a deductible of approximately $5.0
          million per occurrence for automobile bodily injury and property damage through
          our captive risk retention group and up to $500,000 per occurrence for workers’
          compensation claims, both of which can make our insurance and claims expense
          higher or more volatile than if we maintained lower retentions. We are also
          responsible for the first $5.0 million aggregate in the $5.0 million to $10.0 million
          layer of excess insurance coverage for automobile bodily injury and property
          damage. Additionally, with respect to our third-party insurance, reduced capacity
          in the insurance market for trucking risks can make it more difficult to obtain both
          primary and excess insurance, can necessitate procuring insurance offshore, and
          could result in increases in collateral requirements on those primary lines that
          require securitization.

          32.    To the detriment of Plaintiff and all those that bought shares in or traceable to the

 IPO, the negligently prepared Registration Statement omitted material information regarding the

 Company’s business prospects and financial health.           As such, the Registration Statement

 contained untrue statements of material facts or omitted to state the facts necessary to make the

 statements made therein not misleading, thus violating the rules and regulations governing its

 preparation.

          33.    More specifically, the statements identified above were materially false and/or

 misleading because they failed to disclose:

                 (1) that a shortage of trucks was negatively impacting U.S. Xpress’s dedicated

                     division;

                 (2) that: (i) certain account shipping patterns had been performing differently

                     than expected; and that, as a result (ii) utilization and driver retention and

                     hiring were being negatively affected; and that, as a result (iii) U.S. Xpress’s



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                     dedicated accounts, including one large account, were being negatively

                     impacted; and that, as a result (iv) U.S. Xpress’s OTR division was providing

                     continued support to the dedicated division;

                 (3) that: (i) U.S. Xpress failed to stay informed regarding two large liability

                     events; and that, as a result (ii) U.S. Xpress’s insurance claim expense was

                     understated; and

                 (4) that U.S. Xpress’s cost per mile for driver wages and independent contractors

                     was exceeding the Company’s internal expectations.

          34.    The Offering Documents were also materially untrue and misleading because they

 failed to meet the requirements of Item 303 of Regulation S-K. 17 C.F.R. § 229.303(a)(3)(ii).

 Item 303 requires the disclosure of known trends that have had or are reasonably expected to

 have a material impact on a company’s business. As set forth in detail above, all of these trends

 were reasonably likely to have a negative impact on U.S. Xpress’s financial condition, and thus

 were required to be disclosed under Item 303.

                                    The Truth Begins to Emerge

          35.    On November 1, 2018, U.S. Xpress issued a press release, also attached as exhibit

 99.1 to the Form 8-K filed with the SEC, announcing the Company’s financial and operating

 results for the third fiscal quarter and nine months ending September 30, 2018 (“Q3 2018 Press

 Release”). Therein, U.S. Xpress stated in relevant part:

          Eric Fuller, CEO and President, commented, “We continued to see the results of our
          initiatives and cultural overhaul in the third quarter of 2018 as we experienced our
          fifth consecutive quarter of year over year improvements in our operating ratio while
          generating the largest amount of net income during a single quarter in our
          Company’s history, a testament to our team’s efforts and dedication. However, we
          are far from satisfied with our operating performance for the third quarter, as we
          believe our seated truck count and miles per tractor could have performed better
          had we executed more effectively during the quarter. We have taken steps
          internally to address the relevant issues and both average seated truck count and

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          average miles per tractor per working day have increased in October compared with
          the third quarter. Based on the strong freight volumes, rate environment and the
          capacity currently being requested from our customers for the upcoming peak
          season during the fourth quarter, we feel well positioned to make 2018 the most
          profitable year in our history.”
                                              *       *      *
          Operating income for the third quarter of 2018 was $22.9 million which compares
          favorably to the $11.5 million achieved in the third quarter of 2017. This
          improvement was achieved despite incurring $7.6 million of incremental
          insurance and claims expense in the third quarter of 2018, as compared to the
          prior year period, partially offset by a $4.0 million gain on life insurance reflected
          in a reduction in salaries, wages, and benefits, or a net negative impact of
          approximately $0.05 to earnings per share.

                                               *        *      *
          Mr. Fuller said, “Market conditions remained strong in the third quarter as we saw
          our rates increase sequentially from the second quarter and are continuing to
          experience further increases into the fourth quarter. Market conditions for drivers,
          however, remained challenging during the quarter as we were unable to increase
          our tractor count despite improvements in our turnover percentage. The modest
          decline was primarily due to a deceleration in the pace of hiring through the
          first half of the quarter which has since reversed. We continue to execute on our
          initiatives that are focused on being a valued partner to our professional drivers by
          offering them increased miles, modern equipment, and a driver centric operations
          team.”
                                                *      *      *
          The dedicated division’s average revenue per tractor per week increased 5.0% in
          the third quarter of 2018 as compared to the third quarter of 2017. The increase
          was primarily the result of a 10.3% increase in the division’s revenue per mile
          partially offset by a 4.9% decrease in the division’s revenue miles per tractor per
          week. The division’s results continue to be impacted by certain accounts’
          shipping patterns performing differently than expected which was first
          experienced in the second quarter of 2018. The Company made progress
          addressing the issue which resulted in a sequential improvement in utilization to a
          decline of 5.0% in the third quarter of 2018 from the 9.8% decline in utilization
          experienced in the second quarter of 2018.

          36.    During a conference call to discuss the Company’s financial and operating results

 for the third fiscal quarter and nine months ending September 30, 2018 (“Q3 2018 Conf. Call”),

 Defendant Fuller stated in relevant part:

          During the quarter, our over the road division supported contractual commitments
          in our dedicated division, which adversely impacted this division’s utilization.


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          Initially, we thought the support would be reduced toward the beginning of the
          third quarter. However, it progressively increased and peaked during the quarter.
          Over the last 6 weeks, the support provided to our dedicated division by our over
          the road division has been reduced significantly due to increased traction in our
          recruiting efforts to fill these dedicated positions. Additionally, the market for
          drivers remained challenging through the third quarter, which resulted in a
          slight decline in our average tractor count as compared to the second quarter of
          2018. Tractor count in our over the road division troughed in the back half of
          the third quarter as we experienced a slight deceleration in the pace of hiring,
          which has since reversed.

          37.    During the conference call, regarding insurance claims, driver wages and

 independent contractor costs, Defendant Peterson stated in relevant part:

          To conclude, I thought it would be helpful to provide further insight into the
          variance of our results relative to our expectations as you think about modeling
          our business looking to the fourth quarter. Overall, when I think about the third
          quarter relative to our initiatives and where we thought we would be had you
          asked me two quarters ago, we are essentially in line with operating income
          expectations with the exception of the excess insurance and claims expense we
          incurred during the quarter, which we consider to be $3.6 million net of the life
          insurance benefit.

          When developing initial expectations prior to our IPO, we analyzed our rate per mile
          from our customers in conjunction with our cost per mile for driver wages and
          independent contractors as these line items have an interdependent relationship. Our
          rates, driver wages and independent contractor costs are all higher than
          expectations. Importantly, our rate has outpaced the increase in our driver and
          independent contractor costs and has been a net tailwind to our financial results.
          During the quarter, tractor utilization was approximately 100 basis points lower
          than expected in our over the road division and around 450 basis points lower in
          our dedicated division. However, a portion of this unanticipated shortfall in the
          dedicated utilization has been covered with incremental rate increases implemented
          during the third quarter. This is a component of our year-over-year increase in our
          dedicated division’s revenue per mile of 10.3%. Our average tractor count was
          slightly lower than expected for the third quarter due to slightly lower recruiting
          levels than expected. We have seen an improvement in both hiring and retention
          thus far in the fourth quarter, which we expect will increase our overall tractor count
          to levels slightly above second quarter levels. All other costs, except insurance and
          claims were essentially in line with expectations. Fuel and maintenance were slightly
          higher, while equipment and other general expenses were lower.




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          38.    On this news, the price of U.S. Xpress’s common stock declined from a close of

 $10.14 per share on November 1, 2018 to a close of $7.10 per share on November 2, 2018, a

 drop of approximately 29.98%.

          39.    At the date of the filing of this action, less than a year after the IPO, U.S. Xpress’s

 common stock trades at approximately $6.60 per share, a decline of roughly $9.40 per share, or

 nearly 59%, from the $16.00 IPO public price.

                                CLASS ACTION ALLEGATIONS

          40.    Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal

 Rules of Civil Procedure on behalf of all persons who purchased or otherwise acquired the

 Company’s common stock pursuant or traceable to the Offering Documents issued in connection

 with the IPO (the “Class”). Excluded from the Class are Defendants and their families, the

 officers and directors of the Company, at all relevant times, members of their immediate families

 and their legal representatives, heirs, successors, or assigns, and any entity in which Defendants

 have or had a controlling interest.

          41.    The members of the Class are so numerous that joinder of all members is

 impracticable. Following the IPO, U.S. Xpress’s common stock was actively traded on the

 NYSE. While the exact number of Class members is unknown to Plaintiff at this time and can

 be ascertained only through appropriate discovery, Plaintiff believes that there are hundreds or

 thousands of members in the proposed Class. Record owners and other members of the Class

 may be identified from records maintained by U.S. Xpress or its transfer agent and may be

 notified of the pendency of this action by mail, using the form of notice similar to that

 customarily used in securities class actions. Upon information and belief, these shares are held

 by hundreds if not thousands of individuals located geographically throughout the country and

 possibly the world. Joinder would be highly impracticable.

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          42.      Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by the Defendants’ respective wrongful conduct in

 violation of the federal laws complained of herein.

          43.      Plaintiff has and will continue to fairly and adequately protect the interests of the

 members of the Class and has retained counsel competent and experienced in class and securities

 litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

          44.      There is a well-defined community of interest in the questions of law and fact

 involved in this case.       Questions of law and fact common to the members of the Class

 predominate over questions which may affect individual Class members, including:

                   (a)       Whether the Securities Act was violated by the Defendants;

                   (b)       Whether the Offering Documents contained false and misleading

          statements of material fact and omitted material information required to be stated

          therein;

                   (c)       To what extent the members of the Class have sustained damages

          and the proper measure of damages.

          45.      A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

 the damages suffered by individual Class members may be relatively small, the expense and

 burden of individual litigation make it impossible for members of the Class to individually

 redress the wrongs done to them. There will be no difficulty in the management of this action as

 a class action.




 {00318188;2 }                                      15
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                                       CLAIMS FOR RELIEF

                                            COUNT I
  Violations of § 11 of the Securities Act Against U.S. Xpress and the Individual Defendants

          46.      Plaintiff incorporates by reference each and every preceding paragraph as though

 fully set forth herein.

          47.      This Count is asserted by Plaintiff on behalf of himself and the Class against all

 Defendants and is based upon § 11 of the Securities Act, 15 U.S.C. § 77k.

          48.      The Offering Documents were inaccurate and misleading, contained untrue

 statements of material facts, omitted to state other facts necessary to make the statements made

 not misleading, and omitted to state material facts required to be stated therein.

          49.      None of the Defendants named herein made a reasonable investigation or

 possessed reasonable grounds for the belief that the statements contained in the Offering

 Documents were true and complete, such as to render them not false and misleading.

          50.      By reason of the conduct herein alleged, each Defendant violated § 11 of the

 Securities Act.

          51.      Plaintiff acquired the Company’s stock pursuant and/or traceable to the IPO.

 Plaintiff and the Class have sustained damages. The value of the Company’s stock has declined

 substantially subsequent to and due to Defendants’ violations.

          52.      At the time of their purchases of the Company’s stock, Plaintiff and other

 members of the Class were without knowledge of the facts concerning the wrongful conduct

 alleged herein and could not have reasonably discovered those facts prior to the disclosures

 alleged herein. Less than one year has elapsed from the time that Plaintiff discovered or

 reasonably could have discovered the facts upon which this Complaint is based to the time that

 Plaintiff commenced this action. Less than three years has elapsed between the time that the


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 securities upon which this Count is brought were offered to the public and the time Plaintiff

 commenced this action.

          53.    By reason of the foregoing, Plaintiff and the other members of the Class are

 entitled to damages as measured by the provisions of § 11(e), 15 U.S.C. § 77k(e), from the

 Defendants and each of them, jointly and severally.

                                             COUNT II
        For Violation of § 15 of the Securities Act Against U.S. Xpress and the Individual
                                            Defendants

          54.    Plaintiff incorporates by reference and re-alleges each and every allegation above

 as though fully set forth herein. This Count is brought pursuant to § 15 of the Securities Act

 against U.S. Xpress and the Individual Defendants.

          55.    The Individual Defendants each were control persons of the Company by virtue of

 their positions as directors and/or senior officers of the Company.

          56.    The Individual Defendants were each culpable participants in the violation of § 11

 of the Securities Act, alleged in Count I above, based on their having signed or authorized the

 signing of the Registration Statement and having otherwise participated in the process that

 allowed the IPO to be successfully completed.

          57.    None of the Individual Defendants made reasonable investigation or possessed

 reasonable grounds for the belief that the statements contained in the Offering Documents were

 accurate and complete in all material respects. Had they exercised reasonable care, they would

 have known of the material misstatements and omissions alleged herein.

          58.    This claim was brought within one year after the discovery of the untrue

 statements and omissions in the Offering Documents and within three years after the Company’s

 securities were sold to the Class in connection with the IPO.



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          59.    The Company and the Individual Defendants are primarily liable, joint and

 severally, by reason of the above conduct pursuant to § 15 of the Securities Action, 15 U.S.C. §

 77o.

                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for relief and judgment as follows:

                 a)      Determining that this action is a proper class action, certifying Plaintiff as

                         class representative under Federal Rule of Civil Procedure 23 and

                         Plaintiff’s counsel as class counsel;

                 b)      Awarding compensatory damages in favor of Plaintiff and the other

                         members of the Class against all Defendants, jointly and severally, for all

                         damages sustained as a result of the Defendants’ wrongdoing, in an

                         amount to be proven at trial, including interest thereon;

                 c)      Awarding Plaintiff and the Class their reasonable costs and expenses

                         incurred in this action, including attorney fees and expert fees;

                 d)      Granting extraordinary equitable and/or injunctive relief as permitted by

                         law; and

                 e)      Such other and further relief as the Court may deem just and proper.


                                    JURY TRIAL DEMANDED

          Plaintiff hereby demands a jury trial.



 Dated: April 2, 2019




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                                 Respectfully submitted,


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